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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 17-20891-CR-ALTONAGA

  UNITED STATES OF AMERICA,

         Plaintiff,
  vs.

  ANTHONY GIGNAC,
   a/k/a “KHALED AL-SAUD,”
   a/k/a “KHALID AL-SAUD,”
   a/k/a “KHALID BIN AL-SAUD,”
   a/k/a “KHALID BIN SULTAN AL-SAUD,”
   a/k/a “SULTAN BIN KHALID AL SAUD,”

        Defendant.
  _____________________________________/

                                               ORDER

         THIS CAUSE came before the Court upon the United States’ Motion for Preliminary

  Order of Forfeiture and Entry of a Forfeiture Money Judgment [ECF No. 84], filed April 26,

  2019. Being fully advised, the Court finds as follows:

         On January 14, 2019, a grand jury for the Southern District of Florida returned a

  Superseding Indictment against the Defendant, charging him with conspiracy to commit wire

  fraud, in violation of Title 18, United States Code, Section 1349, wire fraud, in violation of Title

  18, United States Code, Section 1343, aggravated identity theft, in violation of Title 18, United

  States Code, Section 1028A(1), impersonating a foreign diplomat, in violation of Title 18,

  United States Code, Section 915, and misuse of a passport, in violation of Title 18, United States

  Code, Section 1544. Superseding Indictment, [ECF No. 17].

         The Superseding Indictment further provided that upon conviction of one or more wire

  fraud offenses, as alleged in the indictment, the Defendant would forfeit to the United States any
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  property, real or personal, which constitutes or is derived from proceeds traceable to the wire

  fraud offenses. Id. at Page 9. The Superseding Indictment alleged that the following items were

  subject to forfeiture:

                  1.             A forfeiture money judgment;

                  2.             Various items seized in connection with this case on November 19, 2017,

                                 including:

                            i.          Approximately $80,000.00 in U.S. currency;

                           ii.          Various amounts in foreign currency;

                       iii.             Various electronic equipment;

                       iv.              Various pieces of art;

                           v.           Various personal property;

                       vi.              Various jewelry valued at approximately $254,105.00 in U.S.

                                        Currency;

                  3.          The contents, including interest, of all accounts of ANTHONY GIGNAC,

                              a/k/a “Khaled Al-Saud,” a/k/a “Khalid Al-Saud,” a/k/a “Khalid Bin Al-

                             Saud,” a/k/a “Khalid Bin Sultan Al-Saud,” a/k/a “Sultan Bin Khalid Al

                              Saud,” Marden Williamson International, LLC, Marden Williamson

                              International AG, and Alaska Jersey Limited, at the following institutions:

                            i.          Wells Fargo, including account # 2802598967;

                           ii.          Bank of America, including account # 237030507126 and account

                                        # 27031890890;

                       iii.             PNC Bank;




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                        iv.        Standard Charter Bank, Jersey, Channel Islands, including account

                                   # 11893079;

                         v.        Banque Paris Bertrand Strudza SA, Geneva, Switzerland; and

                        vi.        Zuger Kantonalban, Zug, Switzerland.

                   4.       The assets, equity interest in the following entities:

                          i.       Marden Williamson International, LLC;

                        ii.        Marden Williamson International, AG; and

                        iii.       Alaska Jersey Limited

  Id. at Page 10-11.

          On March 26, 2019, Defendant pled guilty to wire fraud offenses, as alleged in Counts

  One and Six of the Superseding Indictment. In his plea agreement, Defendant consented to the

  forfeiture of:

                   5.       A forfeiture money judgment in the amount of $8,131,102.06;

                   6.       All items seized in connection with this case on or about November 19,

                            2017, including the following:

                          i.       approximately $88,338.45 in United States currency;

                        ii.        various amounts in foreign currency;

                        iii.       various electronic equipment;

                        iv.        various pieces of art;

                         v.        various personal property;

                        vi.        various jewelry valued in total at approximately $254,105.00 in

                                   United States currency, as further described below:

                                   1.      Rolex Daytona Oyster Perpetual Cosmograph;



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                         2.    Rolex Oyster Perpetual Date Just Chronometer;

                         3.    Rolex Pearlmaster 39 mm Date Just Chronometer;

                         4.    Gentleman’s    Rontende    de     Cartier   Stainless   Steel

                               Chronograph;

                         5.    Lady’s Gold Audemars Piguet Watch;

                         6.    Lady’s Platinum and Diamond Line Bracelet;

                         7.    Gentleman’s Diamond Link Bracelet;

                         8.    Lady’s Cartier-style Bangle Bracelet;

                         9.    Lady’s Cartier-style Bangle Bracelet;

                         10.   Lady’s Cartier-style Bangle Bracelet;

                         11.   Lady’s Cartier-style Bangle Bracelet;

                         12.   Lady’s Cartier-style Bangle Bracelet;

                         13.   Lady’s Three Round Bangles;

                         14.   Lady’s Three Round Bangle;

                         15.   Bangle Bracelet;

                         16.   Gentleman’s Fancy Link Necklace;

                         17.   Gentleman’s Wheat Link Necklace;

                         18.   Gentleman’s Fancy Link Necklace;

                         19.   Gentleman’s 10Kt gold chain;

                         20.   Gentleman’s Cartier Style Ring;

                         21.   Gentleman’s Cartier Wedding Band;

                         22.   Lady’s Sapphire Heart Pendant;

                         23.   Pendant;



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                           24.     Carved Jade and Diamond Pendant;

                           25.     Cartier Style Wedding Band;

                           26.     Sapphire Ring;

                           27.     Gold and Diamond Crown Charm;

                           28.     Gold and Diamond Pendant;

                           29.     Gentleman’s Rolex Oyster President Perpetual Day Date

                                   Watch;

                           30.     Gentleman’s Gold Arabic Pendant;

                           31.     Cartier Nail Bangle Bracelet;

                           32.     Lady’s Diamond Bracelet;

                           33.     Lady’s Cartier Bangle Bracelet;

                           34.     Cartier Gold and Diamond Bangle;

                           35.     Gentleman’s Piaget Watch;

                           36.     Gentleman’s Rolex Oyster Perpetual Date Just Stainless

                                   Steel;

              7.    the contents, including interest, of all accounts of ANTHONY GIGNAC,

                    a/k/a “Khaled Al-Saud,” a/k/a “Khalid Al-Saud,” a/k/a “Khalid Bin Al-

                    Saud,” a/k/a “Khalid Bin Sultan Al-Saud,” a/k/a “Sultan Bin Khalid Al

                    Saud,” Marden Williamson International, LLC, Marden Williamson

                    International AG, and Alaska Jersey Limited, at the following institutions:

                    i.     Wells Fargo, including account # 2802598967;

                   ii.     Bank of America, including account # 237030507126 and account

                           # 237031890890;



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                       iii.      PNC Bank;

                       iv.       Standard Charter Bank, Jersey, Channel Islands;

                        v.       Banque Paris Bertrand Sturdza SA, Geneva, Switzerland; and

                       vi.       Zuger Kantonallban, Zug, Switzerland.

                 8.      the assets, equity interest in the following entities:

                        i.       Marden Williamson International, LLC;

                       ii.       Marden Williamson International AG; and

                      iii.       Alaska Jersey Limited.

  See Plea Agreement Attachment 1, [ECF No. 81].

         According to the Defendant’s factual proffer, beginning as early May 2015, and

  continuing until approximately November 19, 2017, the Defendant engaged in a scheme with co-

  conspirators to unjustly enrich themselves by making false and fraudulent representations that

  the Defendant was a member of the Saudi Royal family with significant backing and access to

  lucrative business ventures, for the purpose of acquiring favorable consideration in business

  deals, and to obtain investments from victims, property, money, material goods, and other things

  of value. Factual Proffer, [ECF No 79] at Page 1-2. Based on those false and fraudulent

  representations, among others, victims deposited money, by means of interstate and international

  wires, in order to invest in the false and fictitious business opportunities touted by the Defendant

  and his co-conspirators, or to provide loans related to the same opportunities. Id. at Page 2.

  Also based on those false and fraudulent representations, the Defendant and his coconspirators

  demanded and received gifts, things of value, and favors from their victims. Id. The Defendant

  and his co-conspirators received, retained and used victims’ investments, loans, gifts, and things

  of value for their own personal gain. Id. Throughout the course of the fraudulent scheme, the



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  Defendant and his co-conspirators tricked over 20 victims into giving him and an affiliate

  company $8,131,102.06.

         Therefore, upon motion of the United States, and for good cause shown thereby, it is

  ORDERED that:

         1.     The United States’ Motion for Preliminary Order of Forfeiture and Entry of a

  Forfeiture Money Judgment [ECF No. 84] is GRANTED.

         2.     A forfeiture money judgment in the amount of $8,131,102.06 is entered against

  the Defendant, pursuant to Title 18, United States Code, Section 981(a)(1)(C), Title 28, United

  States Code, Section 2461(c) and Rule 32.2 of the Federal Rules of Criminal Procedure;

         3.     The following assets are forfeited to the United States pursuant to Title 21, United

  States Code, Sections 981(a)(1)(C) and Title 28, United States Code, Section 2461(c):

                a.      A forfeiture money judgment in the amount of $8,131,102.06;

                b.      All items seized in connection with this case on or about November 19,

                        2017, including the following:

                       i.      approximately $88,388.45 in United States currency;

                      ii.      various pieces of art;

                     iii.      various personal property, as further described below;

                               1.      Royal Selangor Tea Set – Year of the Dragon tea caddy;

                               2.      Chop stick set – red box;

                               3.      Luis Vuitton shoes – white, blue trim;

                               4.      Black camouflage Adidas shoes, bearing serial number

                                       BZ0223;




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                         5.       Black with red trim Adidas shoes, bearing serial number

                                  BY9924;

                         6.       White and brown BNIB men’s monogrammed Run Away

                                  Luis Vuitton sneaker;

                         7.       Luis Vuitton run away sneaker bearing serial number

                                  1A3SSC;

                         8.       Luis Vuitton Helsinki grey knit hat;

                         9.       Luis Vuitton Helsinki grey knit hat;

                         10.      Luis Vuitton knit hat with blue LV circle;

                         11.      Orange and black Hermes belt;

                         12.      BonPoint light blue onesie velour Pyjama;

                         13.      Richard Grand grey cashmere sweater, bearing serial

                                  number 16047/40ML 50756;

                         14.      BonPoint – set of 7 bodysuits;

                         15.      Gold Arabic calligraphy; and

                         16.      Gold frame with mottled jade;

                  iv.    various jewelry valued in total at approximately $254,105.00 in

                         United States currency, as further described below:

                               1. Rolex Daytona Oyster Perpetual Cosmograph;

                               2. Rolex Oyster Perpetual Date Just Chronometer;

                               3. Rolex Pearlmaster 39 mm Date Just Chronometer;

                               4. Gentleman’s    Rontende     de   Cartier     Stainless   Steel

                                  Chronograph;



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                            5. Lady’s Gold Audemars Piguet Watch;

                            6. Lady’s Platinum and Diamond Line Bracelet;

                            7. Gentleman’s Diamond Link Bracelet;

                            8. Lady’s Cartier-style Bangle Bracelet;

                            9. Lady’s Cartier-style Bangle Bracelet;

                            10. Lady’s Cartier-style Bangle Bracelet;

                            11. Lady’s Cartier-style Bangle Bracelet;

                            12. Lady’s Cartier-style Bangle Bracelet;

                            13. Lady’s Three Round Bangles;

                            14. Lady’s Three Round Bangle;

                            15. Bangle Bracelet;

                            16. Gentleman’s Fancy Link Necklace;

                            17. Gentleman’s Wheat Link Necklace;

                            18. Gentleman’s Fancy Link Necklace;

                            19. Gentleman’s 10Kt gold chain;

                            20. Gentleman’s Cartier Style Ring;

                            21. Gentleman’s Cartier Wedding Band;

                            22. Lady’s Sapphire Heart Pendant;

                            23. Pendant;

                            24. Carved Jade and Diamond Pendant;

                            25. Cartier Style Wedding Band;

                            26. Sapphire Ring;

                            27. Gold and Diamond Crown Charm;



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                             28. Gold and Diamond Pendant;

                             29. Gentleman’s Rolex Oyster President Perpetual Day Date

                                Watch;

                             30. Gentleman’s Gold Arabic Pendant;

                             31. Cartier Nail Bangle Bracelet;

                             32. Lady’s Diamond Bracelet;

                             33. Lady’s Cartier Bangle Bracelet;

                             34. Cartier Gold and Diamond Bangle;

                             35. Gentleman’s Piaget Watch;

                             36. Gentleman’s Rolex Oyster Perpetual Date Just Stainless

                                Steel;

                             37. Lady’s costume bracelet;

                             38. Lady’s silver and cubic zirconium bangle;

                             39. Lady’s silver and cubic zirconium ring;

                             40. Lady’s silver and cubic zirconium necklace and bracelet;

                             41. Silver and cubic zirconium bangles;

                             42. Opal bracelet;

                             43. Costume bracelet

                             44. Seven green bead bracelet;

                             45. Gold medal;

                             46. Cuff links;

                             47. Silver and cubic zirconium wedding bands with green

                                stones;



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                             48. Silver and yellow cubic zirconium gold plated wedding

                                bands;

                             49. Silver maquise cubic zirconium and green mottled stone;

                             50. Opaque green cabochon earrings;

                             51. Silver and cubic zirconium rings;

                             52. Tie tack;

                             53. Two silver and cubic zirconium wedding bands;

                             54. Unmatched cubic zirconium earrings;

                             55. Yellow Cartier screwdriver;

                             56. White Cartier screw driver;

                             57. Coins, Cartier screw driver, and cubic zirconium ring;

                             58. Silver and cubic zirconium ring;

                             59. Yellow costume and white cubic zirconium bracelet;

                             60. Cubic zirconium bracelet and cubic zirconium links;

                             61. Silver and cubic zirconium panther bangle bracelet;

                             62. Silver and cubic zirconium bangles;

                             63. White cubic zirconium bracelet;

                             64. Cubic zirconium ring;

                             65. Silver and cubic zirconium eternity ring;

                             66. Cubic zirconium costume ring;

                             67. Yellow bangle (not gold) two pieces;

                             68. Y 10k ring;

                             69. W costume ring; and



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                                       70. Vach K bracelet

          c.      the contents, including interest, of all accounts of ANTHONY GIGNAC, a/k/a

                  “Khaled Al-Saud,” a/k/a “Khalid Al-Saud,” a/k/a “Khalid Bin Al-Saud,” a/k/a

                  “Khalid Bin Sultan Al-Saud,” a/k/a “Sultan Bin Khalid Al Saud,” Marden

                  Williamson International, LLC, Marden Williamson International AG, and Alaska

                  Jersey Limited, at the following institutions:

                         i.        Wells Fargo, including account # 2802598967;

                       ii.         Bank of America, including account # 237030507126 and account

                                   # 237031890890; and

                       iii.        Standard Charter Bank, Jersey, Channel Islands account 11873078;

                  d.       the assets, equity interest in the following entities:

                         i.        Marden Williamson International, LLC;

                       ii.         Marden Williamson International AG; and

                       iii.        Alaska Jersey Limited.

          2.      The United States Marshals Service, or any duly authorized law enforcement

    agency shall, as soon as practicable, seize the property pursuant to Title 21, United States Code,

    Section 853(g);

          3.      The United States shall publish notice of this Order in accordance with Rule

    32.2(b)(6) of the Federal Rules of Criminal Procedure;

          4.      The United States shall provide, to the extent practicable, direct written notice to

   any person known to have an alleged interest in the property, in addition to the published notice;

          5.      Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure, this

    Order shall become final as to the Defendant and shall be made be made a part of the



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    Defendant=s sentence and included in the judgment and commitment order pursuant to Rule

    32.2(b)(4);

          6.      The United States is further authorized, pursuant to Title 21, United States Code,

   Section 853(m) and Rule 32.2(c)(1) of the Federal Rules of Criminal Procedure, to conduct any

   discovery necessary, including depositions, to identify, locate or dispose of the property or in

   order to expedite ancillary proceeding related to any third part petition claims filed with respect

   to the property;

          7.      Upon adjudication of all third-party interests, if any, the Court will enter a final

   order of forfeiture in which all interests will be addressed. If no claims are filed within thirty

   (30) days of the final publication of notice or the receipt of actual notice, whichever is earlier,

   then, pursuant to Rule 32.2(c)(2), this Order shall be deemed a final order of forfeiture and the

   United States Marshals Service, or any duly authorized law enforcement official, shall dispose of

   the property in accordance with applicable law;

          8.      The Court retains jurisdiction in this matter for the purpose of enforcing this

    judgment.

          DONE AND ORDERED in Miami, Florida this 26th day of April, 2019.




                                                           _________________________________
                                                           CECILIA M. ALTONAGA
                                                           UNITED STATES DISTRICT JUDGE

   cc:    counsel of record
          Nicole Grosnoff (2 certified copies)




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